Case 2:23-cv-00631-KKE Document 72 Filed 08/16/23 Page 1 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Washington

SHENZHEN ROOT TECHNOLOGY CO., LTD.,
HONG KONG LUTE TECHNOLOGY CO., LIMITED,
AND SHENZHEN CONGLIN E-COMMERCE CO.,
LTD.,
Plaintiff(s)
V. Civil Action No. 2:23-cv-631

CHIARO TECHNOLOGY Lid.,

—&_ @™—I#”—™" “4” HS?" —{4$_ |" WI" |" ~~ _ ’

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Shenzhen TPH Technology Co., Ltd.
2F, Building 29, Lianchuang Technology Park Il,
Longgang District,
Shenzhen, China

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Lowe Graham Jones PLLC - Attn: Mark P. Walters
1325 Fourth Avenue, Suite 1130
Seattle, WA 98101

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: 08/16/2023 = te"
Signature of Clerk on
Case 2:23-cv-00631-KKE Document 72 Filed 08/16/23 Page 2 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:23-cv-631

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

was received by me on (date)

1 I personally served the summons on the individual at (place)

on (date) ; or

1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O JT returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case 2:23-cv-00631-KKE Document 72 Filed 08/16/23 Page 3 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Washington

SHENZHEN ROOT TECHNOLOGY CO., LTD.,
HONG KONG LUTE TECHNOLOGY CO., LIMITED,
AND SHENZHEN CONGLIN E-COMMERCE CO.,
LTD.,
Plaintiff(s)
V. Civil Action No. 2:23-cv-631

CHIARO TECHNOLOGY Lid.,

—&_ @™—I#”—™" “4” HS?" —{4$_ |" WI" |" ~~ _ ’

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Shenzhen Jinruixing Technology Co., Ltd.
4F, Building D, No. 2 Shihuan Road, Baoan District,
Shenzhen, China

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Lowe Graham Jones PLLC - Attn: Mark P. Walters
1325 Fourth Avenue, Suite 1130
Seattle, WA 98101

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 08/16/2023 | Age

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:23-cv-631

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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was received by me on (date)

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on (date) ; or

1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O JT returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case 2:23-cv-00631-KKE Document 72 Filed 08/16/23 Page 5 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Washington

SHENZHEN ROOT TECHNOLOGY CO., LTD.,
HONG KONG LUTE TECHNOLOGY CO., LIMITED,
AND SHENZHEN CONGLIN E-COMMERCE CO.,
LTD.,
Plaintiff(s)
V. Civil Action No. 2:23-cv-631

CHIARO TECHNOLOGY Lid.,

—&_ @™—I#”—™" “4” HS?" —{4$_ |" WI" |" ~~ _ ’

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Shenzhen Root E-Commerce Co., Ltd.
2F2-208 Shenzhou Computer Building,
Curie Madame Avenue, Longgang District,
Shenzhen, China

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Lowe Graham Jones PLLC - Attn: Mark P. Walters
1325 Fourth Avenue, Suite 1130
Seattle, WA 98101

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT GEER

Date: 08/16/2023 =f Ae I$ A
of Clerk Gr,

Signature Me,
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Case 2:23-cv-00631-KKE Document 72 Filed 08/16/23 Page 6 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:23-cv-631

PROOF OF SERVICE
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This summons for (name of individual and title, if any)

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1 I personally served the summons on the individual at (place)

on (date) ; or

1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O JT returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Washington

SHENZHEN ROOT TECHNOLOGY CO., LTD.,
HONG KONG LUTE TECHNOLOGY CO., LIMITED,
AND SHENZHEN CONGLIN E-COMMERCE CO.,
LTD.,
Plaintiff(s)
V. Civil Action No. 2:23-cv-631

CHIARO TECHNOLOGY Lid.,

—&_ @™—I#”—™" “4” HS?" —{4$_ |" WI" |" ~~ _ ’

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Shenzhen Lutejiacheng Technology Co., Ltd.
2F2-201 Shenzhou Computer Building,
Curie Madame Avenue, Longgang District,
Shenzhen, China

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Lowe Graham Jones PLLC - Attn: Mark P. Walters
1325 Fourth Avenue, Suite 1130
Seattle, WA 98101

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: 08/16/2023

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:23-cv-631

PROOF OF SERVICE
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on (date) , and mailed a copy to the individual’s last known address; or

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Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Washington

SHENZHEN ROOT TECHNOLOGY CO., LTD.,
HONG KONG LUTE TECHNOLOGY CO., LIMITED,
AND SHENZHEN CONGLIN E-COMMERCE CO.,
LTD.,
Plaintiff(s)
V. Civil Action No. 2:23-cv-631

CHIARO TECHNOLOGY Lid.,

—&_ @™—I#”—™" “4” HS?" —{4$_ |" WI" |" ~~ _ ’

Defendant(s)

SUMMONS IN A CIVIL ACTION

Shenzhen Jinruihang Technology Co., Ltd.

Room 204, Building 59, Vanke Donghai’ an, No. 216 Huanbi Road, Donghai’ an, No.
216 Huanbi Road, Donghai’ an Community, Meisha Street, Yantian District,
Shenzhen, China

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Lowe Graham Jones PLLC - Attn: Mark P. Walters
1325 Fourth Avenue, Suite 1130
Seattle, WA 98101

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT SEES

Date: 08/16/2023 hy 42

S
Signature of Clerk ori

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:23-cv-631

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O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
